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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                                      )
 AMERICAN OVERSIGHT,                                  )
                                                      )
                                Plaintiff,            )
                                                      )
 v.                                                   )          Case No. 1:25-cv-00883-JEB
                                                      )
 PETE HEGSETH, in his official capacity as            )
 Secretary of Defense,                                )
                                                      )
 TULSI GABBARD, in her official capacity as           )
 Director of National Intelligence,                   )
                                                      )
 JOHN L. RATCLIFFE, in his official capacity          )
 as Director of the Central Intelligence Agency,      )
                                                      )
 SCOTT BESSENT, in his official capacity as           )
 Secretary of the Treasury                            )
                                                      )
 MARCO A. RUBIO, in his official capacities           )
 as Secretary of State and Acting Archivist of        )
 the United States,                                   )
                                                      )
 and                                                  )
                                                      )
 NATIONAL ARCHIVES AND RECORDS                        )
 ADMINISTRATION,                                      )
                                                      )
                                Defendants.           )
                                                      )


                [ PLAINTIFF’S PROPOSED ] PRELIMINARY INJUNCTION

        UPON CONSIDERATION of American Oversight’s Motion for a Preliminary Injunction

and the entire record herein, and for the reasons stated on the record, it is hereby

        ORDERED that American Oversight’s Motion for Preliminary Injunction is GRANTED;

and it is further
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        ORDERED that messages and communications sent and received by Defendants over

Signal in the transaction of government business are federal records subject to the Federal Records

Act (“FRA”), 44 U.S.C. §§ 3101 et seq.; and it is further

        ORDERED that Defendants Hegseth, Gabbard, Ratcliffe, Bessent, and Rubio, in their

capacities as heads of their respective agencies, shall implement adequate recordkeeping programs

applicable to Signal messages to ensure compliance with the FRA for the pendency of litigation;

and it is further

        ORDERED that Defendants Hegseth, Gabbard, Ratcliffe, Bessent, and Rubio, in their

capacities as heads of their respective agencies, shall immediately preserve all materials relating

to Plaintiff’s claims in the Amended Complaint, ECF No. 17, including all Signal messages sent

or received by Defendants in the course of conducting government business since the date each

agency-head Defendant took their respective offices; and it is further

        ORDERED that Defendants Hegseth, Gabbard, Ratcliffe, Bessent, and Rubio, in their

capacities as heads of their respective agencies, shall notify Acting Archivist Rubio of all of their

unlawfully deleted Signal records and, with Acting Archivist Rubio’s assistance, shall initiate

actions through the Attorney General for the recovery of all unlawfully deleted Signal records; and

it is further

        ORDERED that Defendant Rubio, in his capacity as Acting Archivist, shall request that

the Attorney General initiate an action for the recovery of all of Defendants’ unlawfully deleted

Signal records and he shall notify Congress in writing when such request is made; and it is further




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       ORDERED that Defendants shall, within ten (10) days of the date of this Order, file with

the Court a Status Report with supporting affidavits or declarations reporting on the status of their

compliance with the terms of this Order.



       SO ORDERED.

Date: ________________________                        ____________________________________
                                                      Hon. James E. Boasberg, Chief Judge
                                                      United States District Judge




                                                 3
